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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF ARKANSAS
                          WESTERN DIVISION

IRMA PINZON                                                            PLAINTIFF

v.                        CASE NO. 4:14CV00694 BSM

FRANKLIN COLLECTION
SERVICES, INC., et al.                                              DEFENDANTS

                                   JUDGMENT

      Consistent with the order entered this day, this case is hereby dismissed with

prejudice.

      IT IS SO ORDERED this 4th day of May 2015.



                                              ________________________________
                                              UNITED STATES DISTRICT JUDGE
